                                                                                                Application granted.
          Case 1:24-cv-07174-NRB                      Document 32              Filed 02/04/25            Page 1 of 5



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                                                                                              adamwolfson@quinnemanuel.com
January 30, 2025
VIA ECF

The Honorable Naomi Reice Buchwald
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:       Request for Leave to File Short Sur-Reply Brief
          Particle Health Inc. v. Epic Systems Corporation, 1:24-cv-07174-NRB (S.D.N.Y.)

Dear Judge Buchwald:

        We write on behalf of Plaintiff Particle Health Inc. (“Particle”). On January 24, 2025,
Defendant Epic Systems Corporation (“Epic”) filed a reply brief in support of its motion to dismiss
Particle’s complaint. Dkt. 29. In that brief, Epic contends for the first time that a competitor only
suffers antitrust injury from exclusionary conduct where it has “exit[ed] from the market.” Id. at
9. Particle respectfully requests leave to file a one-page sur-reply memorandum of law solely for
the purpose of responding to Epic’s new (and meritless) argument concerning antitrust injury.

        “Courts grant leave to file sur-replies when they address arguments raised for the first time
in a reply brief.” Bates v. Deva Concepts LLC, 2022 WL 2106494, at *1 (S.D.N.Y. June 10, 2022).
In its opening brief, Epic argued that Particle failed to allege antitrust injury solely because Epic’s
conduct could not have “adversely affected competition in the payer platform market.” See Dkt.
21 at 24. However, after Particle explained in its opposition that a competitor’s “[e]xclusion from
a market is a conventional form of antitrust injury,” Dkt. 28 at 24-25, Epic shifted gears. In its
reply brief, Epic raised a new and deeply misleading argument, contending that a competitor may
only seek damages based on exclusionary conduct when “the defendant’s conduct allegedly caused
the plaintiff’s ‘exit from the market.’” Dkt. 29 at 9 (emphasis in original). Because this argument
was raised for the first time in a reply brief and plainly contradicts binding precedent, Particle
submits that there is good cause for its request to file a one-page sur-reply solely to address this
argument.

       The sur-reply Particle proposes to file is attached as an exhibit to this letter motion. We
appreciate Your Honor’s consideration of this request.

Respectfully submitted,

/s/ Adam B. Wolfson

Adam B. Wolfson



quinn emanuel urquhart & sullivan, llp
ABU DHABI | ATLANTA | AUSTIN | BEIJING | BERLIN | BOSTON | BRUSSELS | CHICAGO | DALLAS | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON |
LOS ANGELES | MANNHEIM | MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO |
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     Case 1:24-cv-07174-NRB   Document 32   Filed 02/04/25   Page 2 of 5




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK

PARTICLE HEALTH INC.,

                Plaintiff,              Case No.: 1:24-cv-07174

           v.

EPIC SYSTEMS CORPORATION                ORAL ARGUMENT REQUESTED

                Defendant.




       PLAINTIFF’S [PROPOSED] SUR-REPLY MEMORANDUM OF LAW
                          IN OPPOSITION TO
                   DEFENDANT’S MOTION TO DISMISS
       Case 1:24-cv-07174-NRB             Document 32        Filed 02/04/25       Page 3 of 5




I.     EPIC’S NEW ARGUMENT ON                          ANTITRUST INJURY             CONTRADICTS
       DECADES OF PRECEDENT

       In its reply brief, Epic advances for the first time a new and plainly meritless argument

regarding antitrust injury. Namely, Epic asserts that a competitor may only “adequately allege”

antitrust injury resulting from exclusionary conduct if that conduct “allegedly caused the plaintiff’s

‘exit from the market.’” Reply at 9 (emphasis in original). Epic further contends that anything less

than total destruction of the plaintiff as a competitor is mere “threatened antitrust injury,” and thus

sufficient only for “injunctive relief.” Id. at 9 n.10 (emphasis in original). That is not the law.

       To the contrary, it is well-established that competitors harmed by exclusionary conduct

may seek damages under Section 4 of the Clayton Act “before they actually are driven from the

market and competition is thereby lessened.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429

U.S. 477, 489 n.14 (1977) (emphasis added). Indeed, “[a] rival has clear standing to challenge the

conduct of rival(s) that is illegal precisely because it tends to exclude competitors from the

market.” Yankees Ent. & Sports Network, LLC v. Cablevision Sys. Corp., 224 F. Supp. 2d 657,

669-70 (S.D.N.Y. 2002) (emphasis added). Put differently, a “rival’s loss is compensable when it

results from conduct that, if successful, would have caused the type of market damage the antitrust

laws seek to prevent.” Areeda & Hovencamp, Antitrust Law, ¶ 348d1 (emphasis added). Thus,

“[s]tanding is clear and seldom challenged when the plaintiff alleges that its rival engaged in an

exclusionary practice designed to rid the market of the plaintiff[.]” Id.

       Such “exclusionary practice[s] designed to rid the market of the plaintiff” are the very crux

of Particle’s viable antitrust claims, id., and Epic’s conduct is “illegal precisely because it tends to

exclude” Particle from the payer platform market, Yankees, 224 F. Supp. 2d at 669-70. See Dkt. 1.

Therefore, the harms Particle has suffered due to Epic’s exclusionary conduct are exactly “the type

of injury the antitrust laws were intended to prevent.” Yankees, 224 F. Supp. 2d at 670.


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     Case 1:24-cv-07174-NRB   Document 32       Filed 02/04/25      Page 4 of 5




Dated: January 30, 2025                 Respectfully Submitted,

                                        QUINN EMANUEL URQUHART &
                                        SULLIVAN, LLP

                                 By: /s/ Adam B. Wolfson

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                                    2
       Case 1:24-cv-07174-NRB           Document 32        Filed 02/04/25      Page 5 of 5




                   CERTIFICATE OF WORD COUNT COMPLIANCE

       I, Adam B. Wolfson, an attorney duly admitted to practice before this Court, hereby certify

pursuant to Local Civil Rule 7.1(c) that annexed Memorandum of Law was prepared using

Microsoft Word and the document contains 330 words as calculated by the application’s word-

counting function, excluding the parts of the Affirmation exempted by Local Civil Rule 7.1(c). I

further certify that the annexed Memorandum of Law is within one page.

       I certify under the penalty of perjury the forgoing statements are true and correct. Executed

on this 30th day of January, 2025 in Los Angeles, California.

                                                    /s/ Adam B. Wolfson        .
                                                       Adam B. Wolfson




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